     Case 2:23-cv-00419-JRG Document 8 Filed 11/06/23 Page 1 of 1 PageID #: 132




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC

                       Plaintiff,
                                                         Civil Action No. 2:23-cv-419-JRG-RSP
v.
                                                             JURY TRIAL DEMANDED
VALVE CORPORATION,
GEARBOX SOFTWARE, LLC
              Defendant.

         DEFENDANT VALVE CORPORATION’S NOTICE OF APPEARANCE RE
                          KATHLEEN R. GEYER

         To the Honorable Court and all parties, please take notice the following attorney hereby

enters an appearance as additional counsel of record for Defendant Valve Corporation, and is

authorized to received service of all pleadings, notices, orders and other papers in the above

captioned matter on behalf of Defendant Valve Corporation.

Dated: November 6, 2023                           Respectfully submitted,

                                                  /s/ Kathleen R. Geyer
                                                  Michael E. Jones (SBN: 10929400)
                                                  Shaun W. Hassett (SBN: 24074372)
                                                  Potter Minton
                                                  102 North College, Ste. 900
                                                  Tyler, Texas 75702
                                                  903-597-8311 (telephone)
                                                  mikejones@potterminton.com
                                                  shaunhassett@potterminton.com

                                                  Kathleen R. Geyer
                                                  Christopher P. Damitio
                                                  Kilpatrick Townsend & Stockton, LLP
                                                  1420 Fifth Avenue Suite 3700
                                                  Seattle, WA 98101
                                                  (206) 467-9600 (telephone)
                                                  KGeyer@kilpatricktownsend.com
                                                  CDamitio@kilpatricktownsend.com

                                                  Attorneys for Defendant, Valve Corportion

                                                 1
77966254v.1
